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                             UNITED STATES DISTRICT COURT
                                  DISTRICT OF MARYLAND



 CHOICE HOTELS INTERNATIONAL,
 INC.,

          Plaintiff,

          V.                                               Civil Action No. TDC-21-0213


 HITESH PATEL,

          Defendant.




                                             ORDER


         On January 26, 2021, Plaintiff Choice Hotels International, Inc.("Choice Hotels") filed an

Application to Confirm Arbitration Award against Defendant Hitesh Patel. The award at issue

was based on Defendant's alleged breach of a franchise agreement between the parties ("the

Franchise Agreement"), specifically Defendant's failure to complete changes and additions to

upgrade a hotel, to cure existing deficiencies, to open the hotel as a Rodeway Inn by a specified

date, and then to pay contractually required liquidated damages after the termination of the

Franchise Agreement. Although Defendant was notified of the arbitration proceedings relating to

the alleged breach of contract, he did not present any evidence or participate in the arbitration

proceedings. On August 4, 2020, the arbitrator awarded Choice Hotels a total of $80,175 in

damages,comprised ofliquidated damages, arbitrator compensation,and administrative expenses.

         Defendant was served with the Application on March 30, 2021. Defendant has not filed a

response to the Application. On August 16, 2021, Choice Hotels filed a Motion for Clerk's Entry

of Default and a Motion for Default Judgment against Defendant. The Clerk entered an Order of

Default on August 18. 2021. Although Defendant was served with the Motion for Default
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Judgment,to date. Defendant has not responded to it or to any other filing in this case. The Motion

is now ripe for disposition, and the Court finds no hearing necessary. See D. Md. Local R. 105.6.

For the reasons set forth below, the Motion for Default Judgment will be GRANTED.

                                          DISCUSSION


       In the Motion for Default Judgment, Choice Hotels asserts that Defendant has failed to file

a timely responsive pleading to its Application. Thus, Choice Hotels argues that it is entitled to

default judgment against Defendant in the amount of the arbitration award and costs.

I.     Legal Standard

       Under Federal Rule ofCivil Procedure 55(b)(2), a defaultjudgment after an entry ofdefault

is left to the discretion of the court. S.E.C. v. Lawbaugh^ 359 F. Supp. 2d 418,421 (D. Md. 2005).

Although the United States Court of Appeals for the Fourth Circuit recognizes a "strong policy

that cases be decided on their merits," United States v. Shaffer Equip. Co., 11 F.3d 450, 453 (4th

Cir. 1993), a default judgment may be appropriate when a party is unresponsive, Lawbaugh, 359

F. Supp. 2d at 421-22(citing          v. Beech,636 F.2d 831,836(D.C. Cir. 1980)). When default

judgment is sought with respect to an application for confirmation of an arbitration award, the

plaintiff must show that it is entitled to confirmation as a matter of law. See D.H. Blair & Co. v.

Gottdiener, 462 F.3d 95, 109-10(2d Cir. 2006).

II.    The Arbitration Award


       The Court is satisfied that it has diversity jurisdiction over this case pursuant to 28 U.S.C.

§ 1332. Choice Hotels is a Delaware corporation with its headquarters located in Rockville,

Maryland. Defendant Hitesh Patel is a citizen of the State of Alabama. In addition, the amount in

controversy is greater than the $75,000 jurisdictional minimum under 28 U.S.C. § 1332.
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        The Federal Arbitration Act("FAA"),9 U.S.C. §§ 1-16(2018), provides in part that:

       If the parties in their agreement have agreed that a judgment of the court shall be
       entered upon the award made pursuant to the arbitration, and shall specify the court,
       then at any time within one year after the award is made any party to the arbitration
       may apply to the court so specified for an order confirming the award, and
       thereupon the court must grant such an order unless the award is vacated, modified,
       or corrected as prescribed in sections 10 and 11 of this title, if no court is specified
       in the agreement of the parties, then such application may be made to the United
        States court in and for the district within which such award was made.


9 U.S.C. § 9. Here, the Franchise Agreement contains an arbitration clause that states that "any

controversy or claim arising out of or relating to this Agreement, or the breach ofthis Agreement,

. .. will be sent to final and binding arbitration," and that "[jjudgment on the arbitration award

may be entered in any court having jurisdiction." Franchise Agreement 1 21, Appl. Ex. 1, ECF

No. 1 -1. Choice Hotels filed its application to confirm the award within one year ofthe arbitrator's

decision. The award was rendered in the State of Maryland. The Court is therefore satisfied that

the requirements of the FAA are met, such that it may review the arbitration award.

        Judicial review of an arbitration award is "severely circumscribed," and, in fact, is "among

the narrowest known at law because to allow full scrutiny of such awards would frustrate the

purpose of having arbitration at all—the quick resolution of disputes and the avoidance of the

expense and delay associated with litigation." Apex Plumbing Supply, Inc. v. U.S. Supply Co.,

Inc., 142 F.3d 188, 193 (4th Cir. 1998)(footnote omitted). Thus, where there is a valid contract

between the parties providing for arbitration, and the arbitration resolved a dispute within the scope

of the arbitration clause, federal courts may vacate an arbitration award only upon a showing of

one of the grounds set forth in the FAA,or if the arbitrator acted in manifest disregard of law. Id.

Section 10 of the FAA limits review to the following grounds: (1)"the award was procured by

corruption, fraud, or undue means";(2)"there was evident partiality or corruption" on the part of

the arbitrators;(3)"the arbitrators were guilty of misconduct" by which "the rights of any party
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have been prejudiced"; or (4) "the arbitrators exceeded their powers." 9 U.S.C. § 10(a). A

misinterpretation ofa contract, or oflaw, does not suffice to overturn an award. See Upshur Coals

Corp. V. United Mine Workers ofAm., Dist. 31, 933 F.2d 225, 229 (4th Cir. 1991). Where an

arbitration award is challenged, the party opposing the award bears the burden of proving the

existence of grounds for vacating the award. Three S Dei, Inc. v. DataQuick Info. Sys., Inc.,492

F.3d520,527(4th Cir. 2007).

        Here, Choice Hotels alleges, and the arbitrator awarded damages for, a breach of the

parties' Franchise Agreement, specifically, Defendant's failure to complete changes and additions

to upgrade the hotel, to cure existing deficiencies, to open it as a Rodeway Inn, and then to pay

contractually required liquidated damages after the termination of the Franchise Agreement. As

noted above,the Franchise Agreement provides that a claim for breach of the agreement is subject

to arbitration, so the claims resolved by arbitration were within the scope ofthe parties' agreement.

Although Defendant was served in this case and received notice of the Motion, he has failed to file

an Answer to Choice Hotels' Application or otherwise make a showing ofany grounds for vacating

the arbitration award. Nor is there anything in the record to suggest that any ofthe limited grounds

for setting aside an arbitration award are present in this case. See 9 U.S.C. § 10(a). Accordingly,

the Court will grant the Motion for Default Judgment to the extent it seeks confirmation of the

arbitrator's award of $80,175. Choice Hotels also asks to be awarded $400 in costs, the filing fee

for this action, which the Court will grant. See Fed. R. Civ. P. 54(d)(1).

        To the extent that Choice Hotels also requests post-judgment interest for the time period

following this Court's grant of default judgment, Choice Hotels is entitled by statute to such post-

judgment interest as calculated under federal law, so the Court need not specifically award it. See
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28 U.S.C. § 1961(a)(2018)("Interest shall be allowed on any monetary judgment in a civil case

recovered in a district court/').

                                         CONCLUSION


        For the foregoing reasons, it is hereby ORDERED that:

    1. Plaintiff Choice Hotels's Motion for Default Judgment, ECF No. 7, is GRANTED.

   2. The arbitration award of August 4,2020 is confirmed.

    3. Judgment is entered in favor of Choice Hotels and against Defendant Hitesh Patel in the

        amount of$80,175, which shall accrue post-judgment interest as specified by statute.

   4. Choice Hotels is awarded $400 in costs.

   5. The Clerk shall close this case.




Date: November 3,2021
                                                    THEODORE D. CHUAl^
                                                    United States District Jufce_
